Filed 8/22/24 Conservatorship of M.C. CA2/6
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.


IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                         DIVISION SIX


 Conservatorship of the Person                                2d Civil No. B330445
 of M.C.                                                    (Super. Ct. No. 56-2021-
                                                            00560735-PR-CP-OXN)
                                                               (Ventura County)

 HSINHWEI JOSEPH CHOU,

      Petitioner and Appellant,

 v.

 PUBLIC GUARDIAN OF
 VENTURA COUNTY, as
 Conservator, etc.

      Objector and Respondent.


     Appellant Hsinhwei Joseph Chou appeals from an order
denying his petitions to remove the Ventura County Public
Guardian (Public Guardian) as conservator of his mother, M.C.,
and instead appoint him successor conservator.1 We affirm.2
             FACTS AND PROCEDURAL HISTORY
      Appellant is one of M.C.’s five children. M.C. was
diagnosed with a major neurocognitive disorder as defined in
Probate Code section 2356.5, subdivision (a)(1). In December
2021, appellant petitioned for appointment of conservator of M.C.
(person only), and the trial court appointed him temporary
conservator with expiration in April 2022.
      The Ventura County court investigator later filed a report
with the court. The report contained details of the investigator’s
interviews and recommendations to the court.
      In May 2022, the trial court appointed the Ventura County
Public Guardian as the permanent conservator of M.C. (person
only). The court subsequently appointed the Public Guardian as
conservator of M.C.’s estate.
      In May 2023, appellant petitioned to remove the Public
Guardian as conservator of M.C. (person only) and to appoint him
as successor conservator. Appellant alleged that M.C. was a
93-year-old woman with “minor dementia” and that the court
appointed the Public Guardian as conservator “due to family
tragedy” and because “her relatives abandon[ed] her.” He also

      1 The public defender representing M.C. filed a joinder to
the Public Guardian’s respondent brief.

      2 We grant respondent’s motion to augment filed May 9,
2024. We deny appellant’s motion for judicial notice filed on July
10, 2024, because we do not review documents not presented to
the trial court. (Vons Companies, Inc. v. Seabest Foods, Inc.
(1996) 14 Cal.4th 434, 444, fn. 3.)




                                2
alleged M.C.’s relatives stole and concealed her money.
Appellant declared that he was a “better fit conservator” than the
Public Guardian because he could provide a better level of care,
and that the costs of Tarzana Health and Rehabilitation Center,
where M.C. resided, was high and the quality of care was “poor.”
       The Ventura County court investigator filed a second
report, which contained details regarding M.C.’s status,
descriptions of the investigator’s interviews, and
recommendations to the court.
       After the hearing, the trial court denied appellant’s
petitions and vacated the hearing on the petition for appointment
of successor conservator.
                            DISCUSSION
       Appellant contends the trial court erred in denying the
petitions to remove the Public Guardian as conservator and
appoint him as successor conservator. We disagree.
       “The Probate Code authorizes appointment of a
‘conservator of the person’ if clear and convincing evidence shows
that the conservatee cannot provide properly for physical health,
food, clothing or shelter needs; a ‘conservator of the estate’ may
be appointed if the conservatee is substantially unable to manage
financial resources, or resist fraud or undue influence. (§ 1801.)”
(Conservatorship of B.C. (2016) 6 Cal.App.5th 1028, 1034.) A
trial court’s decision regarding appointment of a conservator is
reviewed for substantial evidence. (Conservatorship of Ramirez
(2001) 90 Cal.App.4th 390, 401.) “In making that determination,
we view the entire record in the light most favorable to the trial
court’s findings. [Citations.] We must resolve all conflicts in the
evidence and draw all reasonable inferences in favor of the
findings. [Citation.]” (Ibid.)




                                 3
      Substantial evidence supports the trial court’s orders. We
reviewed the two confidential investigator’s reports and conclude
that the evidence therein is substantial to support the court’s
rulings maintaining the Public Guardian as the conservator of
M.C.’s person and estate.
      Furthermore, we have no reporter’s transcript of the
hearing on the petitions to remove the Public Guardian as
conservator and appoint a successor conservator. It is appellant’s
burden to show error. That includes providing an adequate
record from which the claimed error may be demonstrated. The
failure to present such a record supports affirmance of the trial
court’s order. (Maria P. v. Riles (1987) 43 Cal.3d. 1281, 1295-
1296.)
                           DISPOSITION
      The judgment is affirmed. Respondent shall recover costs
on appeal.
      NOT TO BE PUBLISHED.




                                    BALTODANO, J.


We concur:



             GILBERT, P. J.



             YEGAN, J.




                                4
                     Roger L. Lund, Judge

               Superior Court County of Ventura

                ______________________________

      Hsinhwei Joseph Chou, in pro. per., for Petitioner and
Appellant.
      Tiffany N. North, County Counsel, Mitchell B. Davis,
Assistant County Counsel, for Objector and Respondent.
      Claudia Y. Bautista, Public Defender, and William Quest,
Deputy Public Defender, for Conservatee.
